Case 1:23-cv-00108-LMB-JFA Document 805-9 Filed 06/14/24 Page 1 of 21 PageID# 19311




              ATTACHMENT H
Case 1:23-cv-00108-LMB-JFA Document 805-9 Filed 06/14/24 Page 2 of 21 PageID# 19312




            EXHIBIT 
Case 1:23-cv-00108-LMB-JFA Document 805-9 Filed 06/14/24 Page 3 of 21 PageID# 19313
Case 1:23-cv-00108-LMB-JFA Document 805-9 Filed 06/14/24 Page 4 of 21 PageID# 19314
Case 1:23-cv-00108-LMB-JFA Document 805-9 Filed 06/14/24 Page 5 of 21 PageID# 19315
Case 1:23-cv-00108-LMB-JFA Document 805-9 Filed 06/14/24 Page 6 of 21 PageID# 19316
Case 1:23-cv-00108-LMB-JFA Document 805-9 Filed 06/14/24 Page 7 of 21 PageID# 19317
Case 1:23-cv-00108-LMB-JFA Document 805-9 Filed 06/14/24 Page 8 of 21 PageID# 19318
Case 1:23-cv-00108-LMB-JFA Document 805-9 Filed 06/14/24 Page 9 of 21 PageID# 19319
Case 1:23-cv-00108-LMB-JFA Document 805-9 Filed 06/14/24 Page 10 of 21 PageID# 19320
Case 1:23-cv-00108-LMB-JFA Document 805-9 Filed 06/14/24 Page 11 of 21 PageID# 19321
Case 1:23-cv-00108-LMB-JFA Document 805-9 Filed 06/14/24 Page 12 of 21 PageID# 19322
Case 1:23-cv-00108-LMB-JFA Document 805-9 Filed 06/14/24 Page 13 of 21 PageID# 19323
Case 1:23-cv-00108-LMB-JFA Document 805-9 Filed 06/14/24 Page 14 of 21 PageID# 19324
Case 1:23-cv-00108-LMB-JFA Document 805-9 Filed 06/14/24 Page 15 of 21 PageID# 19325
Case 1:23-cv-00108-LMB-JFA Document 805-9 Filed 06/14/24 Page 16 of 21 PageID# 19326
Case 1:23-cv-00108-LMB-JFA Document 805-9 Filed 06/14/24 Page 17 of 21 PageID# 19327
Case 1:23-cv-00108-LMB-JFA Document 805-9 Filed 06/14/24 Page 18 of 21 PageID# 19328
Case 1:23-cv-00108-LMB-JFA Document 805-9 Filed 06/14/24 Page 19 of 21 PageID# 19329
Case 1:23-cv-00108-LMB-JFA Document 805-9 Filed 06/14/24 Page 20 of 21 PageID# 19330
Case 1:23-cv-00108-LMB-JFA Document 805-9 Filed 06/14/24 Page 21 of 21 PageID# 19331
